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AO 106(Rev. 04/10) Application for a Search Warrant


                                     United States District Court h
                                                                     for the
                                                         Eastern District of Virginia

             In the Matter ofthe Search of                                                                 CLERK, U.S. DISTRICT COURT
                                                                                                                     RICHMOND, VA
         (Briefly describe the property to be searched
          or identify the person by name and address)
      2821 Dellrose Ave, Richmond, Virginia 23228
                                                                                  Case No. 3 J'SSiV^o^
                   "SUBJECT PREMISES"



                                            APPLICATION FOR A SEARCH WARRANT

        I, a federal law enforcement officer or an attorney for the governinent, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):                                                                  _            .       j •
2821 Dellrose Ave, Richmond, Virginia 23228, hereinafter"SUBJECT PREMISES" as described inthe supporting affidavit
and attachments
located in the               Eastern              District of             Virginia             ,there is now concealed (identify the
person or describe the property to be seized)'.
 evidence related to passport fraud and related charges as specified in the Complaint and supporting affidavit Incorporated
 herein by reference

           The basis for the search under Fed. R. Grim. P. 41(c)is (check one or more)-.
                sf evidence of a crime;
                sf contraband, fruits of crime, or other items illegally possessed;
                af property designed for use, intended for use, or used in cormnitting a crime;
                 □ a person to be arrested or a person who is unlawfully restrained.
           The search is related to a violation of:

             Code Section                                                          Offense Description
        18 U.S.C. Section 1542                    False statement in a passport application
        18 U.S.C. Section 1546                    Fraud and misuse of visas, permits, and other documents
        18 U.S.C. Section 911                     False claim to citizenship
           The application is based on these facts:
        attached affidavit




           □ Continued on tlie attached sheet,
           af Delayed notice of 10 days (give exact ending date if more than 30 days:                                    ) is requested
               under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


           Reviewed by AUSA/SAUSA:                                                             Applicant's signature

           S. David Schiller                                                               S. David Schiller, A.U.S.A.
                                                                                               Printed name and title

Sworn to before me and signed in my presence.
                                                                                                   fc/ 7)
Date:                                                                          Rodenck C. Young
                                                                               United States
City .and state:
                                                                                               Printed name and title
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